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                                                                 USDC-SDNY
                                                                 DOCUMENT
                                                                 ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                     DOC#:
SOUTHERN DISTRICT OF NEW YORK                                    DATE FILED: 01/27/2021


 YVETTE M. HOLMES,

                            Plaintiff,

                       v.                                     No. 20-CV-5864 (RA)

 ANDREW SAUL, ACTING                                                 ORDER
 COMMISSIONER OF THE SOCIAL
 SECURITY ADMINISTRATION,

                            Defendant.


RONNIE ABRAMS, United States District Judge:

       To conserve resources, to promote judicial efficiency, and in an effort to achieve a faster

disposition of this matter, it is hereby ORDERED that the parties must discuss whether they are

willing to consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before

Magistrate Judge Gorenstein.

       If both parties consent to proceed before Judge Gorenstein, counsel for the defendant must,

within two weeks of the date of this Order, submit to the Orders & Judgments Clerk at

judgments@nysd.uscourts.gov a fully executed Notice, Consent, and Reference of a Civil Action

to a Magistrate Judge form, a copy of which is attached to this Order (and also available at

https://www.nysd.uscourts.gov/forms/consent-proceed-us-magistrate-judge).       If   the    Court

approves that form, all further proceedings will then be conducted before Judge Gorenstein rather

than before me. Any appeal would be taken directly to the United States Court of Appeals for the

Second Circuit, as it would be from this Court if the consent form were not signed and so ordered.

An information sheet on proceedings before magistrate judges is also attached to this Order.

       If either party does not consent to conducting all further proceedings before Judge
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Gorenstein, the parties must file a joint letter, within two weeks of this Order, advising the Court

that the parties do not consent, but without disclosing the identity of the party or parties who

do not consent. At that time, the Court will then refer this case to Judge Gorenstein for a report

and recommendation on any motion for judgment on the pleadings. The parties are free to

withhold consent to conducting all further proceedings before Judge Gorenstein without negative

consequences.

SO ORDERED.


Dated:          January 27, 2021
                New York, New York

                                                     ________________________________
                                                     Ronnie Abrams
                                                     United States District Judge




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AO 85 (Rev. 02/17) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                        __________ District of __________

                                                                               )
                                 Plaintiff                                     )
                                    v.                                         )      Civil Action No.
                                                                               )
                               Defendant                                       )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge
may exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


        Printed names of parties and attorneys                               Signatures of parties       attorneys               Dates




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                    District Judge’s signature



                                                                                                     Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.



         Print                           Save As...                                                                              Reset
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                United States District Court
                Southern District of New York




                        UNITED STATES MAGISTRATE JUDGES:
                            REFERRALS AND CONSENTS

All cases in the Southern District of New York are assigned to two judges: a district
judge and a magistrate judge. District judges are appointed for life terms by the
President. Magistrate judges are selected by a majority vote of the district judges in the
particular district and serve terms of eight years.

Referrals to the Magistrate Judge. The district judge assigned to your case may refer
the case to a magistrate judge for specific purposes. Commonly, the referral will be for
the magistrate judge to conduct the proceedings that occur before trial, such as
resolving discovery disputes or presiding over settlement conferences. A referral may
also be made for the magistrate judge to issue to the district judge a report and
recommendation on how to resolve a motion, such as a motion to dismiss or a motion
for summary judgment. The consent of the parties is not needed for the district judge to
refer the case to the magistrate judge for these purposes. If the district judge has made
such a referral, you can ask the district judge to review any magistrate judge’s decision
by filing an objection with the district judge within fourteen days of that decision. The
district judge will rule on any timely objections that you file. If you do not file an
objection, you will give up your right to challenge the magistrate judge’s decision at a
later time, including on appeal. See Rule 72 of the Federal Rules of Civil Procedure.

Consent to Proceed Before the Magistrate Judge. If you would like your case to move
more quickly, it is helpful to consent to proceed before the magistrate judge for all
purposes, including any trial. If all parties consent, the magistrate judge will perform
the identical function that the district judge would have performed. Any trial in your
case would be either a jury or a nonjury trial, depending upon whether there is a right
to a jury trial and a proper request for such a trial. The only difference is that the
magistrate judge – and not the district judge – would preside over that trial. Cases that
proceed for all purposes before a magistrate judge generally move more quickly than
cases before a district judge. If all parties consent to proceed before the magistrate
judge, the district judge plays no further role in the case. Any appeal is taken directly to
the Court of Appeals. It is your choice whether or not to consent to proceed before the
magistrate judge.

A copy of the appropriate consent form is attached. Additional forms are also available
from the Pro Se Intake Unit and on the Court’s website.




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